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                        UNITED STATES BANKRUPTCY COURT
                         WESTERN DISTRICT OF TENNESSEE
                                WESTERN DIVISION

IN RE:

WILLIAM TAGG,                                 Case No. 21-23424-l
                                              Subchapter V
Debtor.                                       Chapter 11
__________________________________________________________________________

                     OBJECTION TO THE CLAIM
          OF DEUTSCHE BANK NATIONAL TRUST COMPANY
_____________________________________________________________________

         COMES NOW the Debtor to object to the claim of Deutsche Bank National Trust

Company. The claim is #1 on the Registry of Claims with this court and is for

$1,769,278.86. Your debtor would show that the claim is subject to ongoing litigation in the

Florida state courts, that individual liability for this debtor has not been established, and that

according to the debtor in the Walton County registry of Deeds, Book 2766, Page 2246 it is

clear that there is no personal liability or guaranty by this debtor. The claim may be a valid

one against Charleston II Builders.

         WHEREFORE, PREMISES CONSIDERED, DEBTOR PRAYS:

         1. For a hearing.

         2. For such further and other relief as to which the debtor may be entitled.
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                                     RESPECTFULLY SUBMITTED,

                                     /s/ Ted I. Jones

                                     ____________________________________
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                                 CERTIFICATE OF SERVICE

        I, Ted I. Jones, hereby certify that I have forwarded a copy of this pleading to all
parties in this case pursuant to the court’s electronic noticing system, and to all others via
first-class mail, postage pre-paid, this the 1st day of December, 2021.

                                     /s/ Ted I. Jones
                                     ____________________________________
                                     Ted I. Jones
